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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                     :
               Plaintiff,                     :               Case No. 1:20-CR-077
       vs.                                    :               JUDGE BLACK
LARRY HOUSEHOLDER, et al,                     :
               Defendant.                     :
  TIMOTHY BURGA’S REPLY TO LARRY HOUSEHOLDER’S RESPONSE TO HIS
           MOTION TO QUASH SUBPOENA AD TESTIFICANDUM
       On January 23, 2023, Larry Householder served a subpoena ad testificandum on Timothy

Burga, President of the Ohio AFL-CIO. After ignoring undersigned counsel’s question about the

testimony Householder sought to elicit, Burga moved to quash the subpoena. (R. #196, Motion to

Quash).

       On February 6, 2023, Householder filed a response in opposition to Burga’s motion to

quash. (R. #200, Householder’s Opposition). In his response, Householder noted he didn’t intend

to elicit testimony about the merits of HB-6. (R. #200, Householder’s Opposition, PAGE ID

#5495). Instead, Householder intends to pursue the following lines of inquiry: (a) “why he (Burga)

authorized the [Ohio] AFL-CIO to contribute money to Generation Now during the 2018 election

cycle” and (b) “how the [Ohio] AFL-CIO spent the money that Generation Now sent to it in 2019.”

(R. #200, Householder’s Opposition, PAGE ID #5495).

       On their face, Householder’s lines of questioning are not forbidden by this Court’s Final

Pretrial Order. (R. #180, Final Pretrial Order, PAGE ID #4353). Additionally, because he’s

simply a witness, Burga will leave it to the parties to raise any objections under Fed. R. Evid. 401-

403 that his testimony might trigger. Based on Householder’s proffered bases for Burga’s




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testimony, it appears Timothy Burga can arguably provide material or relevant testimony and he

gives notice of his intent to withdraw his motion to quash.

                                                 Respectfully submitted,

                                                   /s/ Steven S. Nolder
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of this Reply to Householder’s Response to

Motion to Quash was electronically served on all counsel this 8th day of February, 2023.


                                                   /s/ Steven S. Nolder
                                                 Steven S. Nolder (0037795)
                                                 Attorney for Timothy Burga




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